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                                Declaration of Robert B. Greifinger, MD


I, Robert B. Greifinger, declare as follows:
    1. I am a physician who has worked in health care for prisoners for more than 30 years. I
       have managed the medical care for inmates in the custody of New York City (Rikers
       Island) and the New York State prison system. I have authored more than 80 scholarly
       publications, many of which are about public health and communicable disease. I am the
       editor of Public Health Behind Bars: from Prisons to Communities, a book published by
       Springer (a second edition is due to be published in early 2021); and co-author of a
       scholarly paper on outbreak control in correctional facilities.1
    2. I have been an independent consultant on prison and jail health care since 1995. My
       clients have included the U.S. Department of Justice, Division of Civil Rights (for 23
       years) and the U.S. Department of Homeland Security, Section for Civil Rights and Civil
       Liberties (for six years). I am familiar with immigration detention centers, having toured
       and evaluated the medical care in approximately 20 immigration detention centers, out of
       the several hundred correctional facilities I have visited during my career. I currently
       monitor the medical care in three large county jails for Federal Courts. My resume is
       attached as Exhibit A.
    3. COVID-19 is a coronavirus disease that has reached pandemic status. As of today,
       according to the World Health Organization, more than 132,000 people have been
       diagnosed with COVID-19 around the world and 4,947 have died.2 In the United States,
       about 1,700 people have been diagnosed and 41 people have died thus far.3 These
       numbers are likely an underestimate, due to the lack of availability of testing.
    4. COVID-19 is a serious disease, ranging from no symptoms or mild ones for people at low
       risk, to respiratory failure and death in older patients and patients with chronic underlying
       conditions. There is no vaccine to prevent COVID-19. There is no known cure or anti-
       viral treatment for COVID-19 at this time. The only way to mitigate COVID-19 is to use
       scrupulous hand hygiene and social distancing.
    5. People in the high-risk category for COVID-19, i.e., the elderly or those with underlying
       disease, are likely to suffer serious illness and death. According to preliminary data from
       China, 20% of people in high risk categories who contract COVID-19 have died.




1
  Parvez FM, Lobato MN, Greifinger RB. Tuberculosis Control: Lessons for Outbreak Preparedness in Correctional
Facilities. Journal of Correctional Health Care OnlineFirst, published on May 12, 2010 as
doi:10.1177/1078345810367593.
2
  See https://experience.arcgis.com/experience/685d0ace521648f8a5beeeee1b9125cd, accessed March 13, 2020.
3
  See https://www.nytimes.com/interactive/2020/us/coronavirus-us-cases.html?searchResultPosition=1, accessed
March 13, 2020.
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   6. Those who do not die have prolonged serious illness, for the most part requiring
      expensive hospital care, including ventilators that will likely be in very short supply.
   7. The Centers for Disease Control and Prevention (CDC) has identified underlying medical
      conditions that may increase the risk of serious COVID-19 for individuals of any age:
      blood disorders, chronic kidney or liver disease, compromised immune system, endocrine
      disorders, including diabetes, metabolic disorders, heart and lung disease, neurological
      and neurologic and neurodevelopmental conditions, and current or recent pregnancy.
   8. Social distancing and hand hygiene are the only known ways to prevent the rapid spread
      of COVID-19. For that reason, public health officials have recommended extraordinary
      measures to combat the spread of COVID-19. Schools, courts, collegiate and professional
      sports, theater and other congregate settings have been closed as part of risk mitigation
      strategy. At least one nursing home in the Seattle area has had cases of COVID-19 and
      has been quarantined.
   9. The Seattle metropolitan area, hit hard by COVID, is the epicenter of the largest national
      outbreak at this time. Therefore, it is highly likely, and perhaps inevitable, that COVID-
      19 will reach the immigration detention facility in Tacoma, Washington. Immigration
      courts and the ICE field office in Seattle have already closed this month due to staff
      exposure to COVID-19.
   10. The conditions of immigration detention facilities pose a heightened public health risk to
       the spread of COVID-19, even greater than other non-carceral institutions.
   11. Immigration detention facilities are enclosed environments, much like the cruise ships
       that were the site of the largest concentrated outbreaks of COVID-19. Immigration
       detention facilities have even greater risk of infectious spread because of conditions of
       crowding, the proportion of vulnerable people detained, and often scant medical care
       resources. People live in close quarters and cannot achieve the “social distancing” needed
       to effectively prevent the spread of COVID-19. Toilets, sinks, and showers are shared,
       without disinfection between use. Food preparation and food service is communal, with
       little opportunity for surface disinfection. Staff arrive and leave on a shift basis; there is
       little to no ability to adequately screen staff for new, asymptomatic infection.
   12. Many immigration detention facilities lack adequate medical care infrastructure to
       address the spread of infectious disease and treatment of high-risk people in detention. As
       examples, immigration detention facilities often use practical nurses who practice beyond
       the scope of their licenses; have part-time physicians who have limited availability to be
       on-site; and facilities with no formal linkages with local health departments or hospitals.
   13. The only viable public health strategy available is risk mitigation. Even with the best-laid
       plans to address the spread of COVID-19 in detention facilities, the release of high-risk
       individuals is a key part of a risk mitigation strategy. In my opinion, the public health
       recommendation is to release high-risk people from detention, given the heightened risks
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       to their health and safety, especially given the lack of a viable vaccine for prevention or
       effective treatment at this stage.
   14. To the extent that vulnerable detainees have had exposure to known cases with
       laboratory-confirmed infection with the virus that causes COVID-19, they should be
       tested immediately in concert with the local health department. Those who test negative
       should be released.
   15. This release cohort can be separated into two groups. Group 1 could be released to home
       quarantine for 14 days, assuming they can be picked up from NWDC by their families or
       sponsors. Group 2 comprises those who cannot be easily transported to their homes by
       their families or sponsors. Group 2 could be released to a housing venue for 14 days,
       determined in concert with the Pierce County or Washington State Department of Health.


Pursuant to 28 U.S.C. 1746, I declare under penalty of perjury that the foregoing is true and
correct.
Executed this 14th day in March, 2020 in New York City, New York.




Robert B. Greifinger, M.D.
